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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

 GREGORY MONTGOMERY,                                     )
                                                         )
                                   Plaintiff,            )
                                                         )
                            v.                           )    CIVIL NO.: 1:13-cv-0329-WTL-TAB
                                                         )
 WAL-MART STORES, EAST L.P.                              )
                                                         )
                                   Defendant.            )


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff, Gregory Montgomery, and Defendant, Wal-Mart Stores East, LP, by counsel,

 hereby stipulate and agree to the dismissal of the above-captioned cause of action in its entirety,

 including claims that were brought or that could have been brought, with prejudice, and each

 party to bear its own costs and fees.1



 Respectfully submitted,

     BARNES & THORNBURG LLP


 s/ John H. Haskin                                           s/ Peter T. Tschanz
 Counsel for Plaintiff                                       Counsel for Defendant
 John H. Haskin                                              Susan M. Zoeller
 (Mr. Haskin consented to the                                Peter T. Tschanz
 filing of this Joint Motion                                 11 South Meridian Street
 on February 6, 2014)                                        Indianapolis, Indiana 46204
 255 N. Alabama Street, 2nd Floor                            Telephone: (317) 236-1313
 Indianapolis, Indiana 46220                                 Facsimile: (317) 231-7433
 jhaskin@jhaskinlaw.com                                      Email: susan.zoeller@btlaw.com
                                                             peter.tschanz@btlaw.com


 1
   Undersigned counsel for Plaintiff submits this Joint Stipulation of Dismissal on behalf of Plaintiff in accordance
 with the Court’s Limited Appointment for purposes of representation in connection with the December 18, 2013
 settlement conference and resolution of this matter. [Dkt. 24].
